Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07    Desc Main
                                  Document      Page 1 of 24




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



      IN RE:                                )              CASE NO. 18-68479-PMB
                                            )
      JAMES EDWARD CARTER, IV               )              CHAPTER 11
                                            )
               Debtor.                      )




           CHAPTER 11 AMENDED DISCLOSURE STATEMENT


                               Dated this 29th day of April, 2019


                                           Filed by:

                                   James Edward Carter, IV
                                Debtor and Debtor in Possession

                         Attorneys for Debtor and Debtor in Possession,
                                    Howard P. Slomka, Esq.

                                  Slipakoff and Slomka PC
                             2859 Paces Ferry Rd, SW, Suite 1700
                                     Atlanta, GA 30339
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07            Desc Main
                                  Document      Page 2 of 24


Disclaimer

       All Creditors and Holders of Interests are advised and encouraged to read this
Disclosure Statement and the Plan in their entirety. Plan summaries and statements made in this
Disclosure Statement are qualified in their entirety by reference to the Plan, any exhibits, and
the Disclosure Statement as a whole.

        This Disclosure Statement has been prepared in accordance with § 1125 of the Bankruptcy
Code and Rule 3016(c) of the Federal Rules of Bankruptcy Procedure and not in accordance
with federal or state securities laws. This Disclosure Statement has neither been approved nor
disapproved by the Securities and Exchange Commission ("SEC"), nor has the SEC passed on
the accuracy or adequacy of the statements contained herein. This Disclosure Statement was
prepared to provide holders of Claims and Interests in Debtor with "adequate information" (as
defined in the Bankruptcy Code) so that they can make an informed judgment about the Plan.

         As to contested matters, adversary proceedings, and other actions or threatened actions,
this Disclosure Statement shall not constitute nor be construed as an admission of any fact or
liability, stipulation, or waiver, but rather as a statement made in settlement negotiations.

        The information contained in this Disclosure Statement is included herein for the purpose
of soliciting acceptances of the Plan and may not be relied upon for any purpose other than to
make a judgment with respect to, and how to vote on, the Plan.

        The representations in this Disclosure Statement are those of Debtor. No
representations concerning Debtor are authorized other than as set forth in this statement.
Any representation or inducement made to secure acceptance of this Plan which are other
than as contained in this document should not be relied upon by any Person. The information
contained herein has not been subject to a certified audit. Every effort, however, has been
made to provide adequate financial information in this Disclosure Statement. The
representations by Debtor are not warranted or represented to be without any inaccuracy,
although every effort has been made to be accurate. Neither the Plan nor this Disclosure
Statement has been designed to forecast consequences which follow from a general rejection
of this Plan, although an attempt is made to state the consequences of a liquidation of Debtor.

I.     Introduction and General Information

        This disclosure statement ("Disclosure Statement") is submitted by Dr. James Edward
Carter, IV (the “Debtor”), to provide information to parties in interest about the Chapter
11 Plan (the "Plan") filed by Debtor. This introductory section is qualified in its entirety by the
detailed explanations which follow and the provisions of the Plan.

This Disclosure Statement sets forth certain information regarding Debtor’s prepetition
history and events that have occurred during Debtor’s Chapter 11 case. This Disclosure Statement
also describes the Plan, alternatives to the Plan, effects of confirmation of the Plan, and the
manner in which Distributions will be made under the Plan. In addition, this Disclosure
Statement discusses the confirmation process and voting procedures that holders of Claims in
Impaired Classes must follow for their votes to be counted.
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                   Document      Page 3 of 24



        This Disclosure Statement contains summaries of certain provisions of the Plan, statutory
provisions, documents related to the Plan, events in Debtor’s Chapter 11 case, and financial
information. Although Debtor believes that the Plan and related document summaries are fair
and accurate, such summaries are qualified to the extent that they do not set forth the entire text
of such documents or statutory provisions. Factual information contained in this Disclosure
Statement has been provided by Debtor, except where otherwise specifically noted. Debtor is
unable to warrant or represent that the information contained herein, including the financial
information, is without any inaccuracy or omission. The financial data set forth herein, except
as otherwise specifically noted, has not been subjected to an independent audit.

        Nothing contained herein shall (1) constitute an admission of any fact or liability by any
party, (2) be admissible in any nonbankruptcy proceeding involving Debtor or any other party;
provided, however, that in the event Debtor defaults under the Plan, the Disclosure Statement may
be admissible in a proceeding relating to such default for the purpose of establishing the existence
of such default, or (3) be deemed conclusive advice on the tax or other legal effects of Debtor’s
Plan as to holders of Claims or Interests. You should consult your personal counsel or tax advisor
on any questions or concerns regarding tax or other legal consequences of the Plan.

        Except for historical information, all the statements, expectations, and assumptions,
including expectations and assumptions contained in this Disclosure Statement, involve a
number of risks and uncertainties. Although Debtor has used its best efforts to be accurate in
making these statements, it is possible that the assumptions made by Debtor may not materialize.
In addition, other important factors could affect the prospect of recovery to Creditors including,
but not limited to, the inherent risks of litigation and the amount of Allowed Claims.

Parties voting on the Plan should read both the Plan and this Disclosure Statement.

       A.      Definitions

        Unless otherwise defined, capitalized terms used in this Disclosure Statement have the
meanings ascribed to them in the Plan. In the event of an inconsistency between the Disclosure
Statement and the Plan, the terms of the Plan shall govern and such inconsistency shall be resolved
in favor of the Plan. The Filing Date, as defined in the Plan, shall mean November 2, 2018,
and the Effective Date, as defined in the Plan, shall mean the date that is sixty (60) days after the
entry of a Confirmation Order.

       B.      The Disclosure Statement

        The primary purpose of this Disclosure Statement is to provide parties entitled to vote on
the Plan with adequate information so that they can make a reasonably informed decision prior to
exercising their right to vote to accept or reject the Plan.

        The Bankruptcy Court's approval of this Disclosure Statement constitutes neither a
guarantee of the accuracy or completeness of the information contained herein, nor an endorsement
of the Plan by the Bankruptcy Court.
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                   Document      Page 4 of 24


        When and if confirmed by the Bankruptcy Court, the Plan will bind Debtor and all
holders of Claims against Debtor, whether or not they are entitled to vote or did vote on the Plan
and whether or not they receive or retain any Distributions or property under the Plan. Thus, you
are encouraged to read this Disclosure Statement carefully. In particular, holders of Impaired
Claims who are entitled to vote on the Plan are encouraged to read this Disclosure Statement, the
Plan, and any exhibits to the Plan and Disclosure Statement, carefully and in their entirety before
voting to accept or reject the Plan. This Disclosure Statement contains important information
about the Plan, the method and manner of distributions under the Plan, considerations pertinent
to acceptance or rejection of the Plan, and developments concerning this case.

II.    Voting on the Plan and Confirmation Process

       A.      Voting Instructions

        Accompanying this Disclosure Statement are copies of the following documents: (1) the
Plan and (2) a Ballot to be executed by Holders of Impaired Claims who are entitled to vote to
accept or reject the Plan. The Ballot contains voting instructions. Please read the instructions
carefully to ensure that your vote will count.

       The Disclosure Statement, the form of Ballot, and the related materials delivered together
herewith (collectively, the “Solicitation Package”), are being furnished to Holders of Claims in
Classes 1- 4 for the purpose of soliciting votes on the Plan.

       If you did not receive a Ballot in your Solicitation Package, and believe that you should
have received a Ballot, please contact, Slipakoff & Slomka, PC, 2859 Paces ferry Road, SE Suite
1700, Atlanta, Georgia 30339, (Attn: Howard P. Slomka, Esq.).

       In order for your Ballot to count, it must be received within the time indicated on the
Ballot and the Ballot must clearly indicate your Claim, the Class of your Claim, and the
amount of your Claim.

        By enclosing a Ballot, Debtor is not admitting that you are entitled to vote on the Plan,
is not admitting that your Claims is allowed as set forth on the Ballot, and is not waiving any
right to object to your vote or your Claim.

       B.      Who May Vote

        Only a holder of an Allowed Claim classified in an Impaired Class is entitled to vote on
the Plan. Classes 1-4 are impaired and entitled to vote to accept or reject the Plan. As set forth in
section 1124 of the Bankruptcy Code, a class is “Impaired” if legal, equitable, or contractual rights
attaching to the claims or equity interests of that class are modified or altered. Any class that is
“unimpaired” is not entitled to vote to accept or reject a plan and is conclusively presumed to have
accepted the Plan.

        A Claim must be “allowed” for purposes of voting in order for such creditor to have the
right to vote. Generally, for voting purposes a Claim is deemed “allowed” absent an objection to
the Claim if (i) a proof of claim was timely filed, or (ii) if no proof of claim was filed, the Claim
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07              Desc Main
                                   Document      Page 5 of 24


is identified in Debtor’s Schedules as other than “disputed,” “contingent,” “unknown” or
“unliquidated,” and an amount of the Claim is specified in the Schedules, in which case the
Claim will be deemed allowed for the specified amount. In either case, when an objection to a
Claim is filed, the creditor holding the Claim cannot vote unless the Bankruptcy Court, after notice
and hearing, either overrules the objection, or allows the Claim for voting purposes. Accordingly,
if you did not receive a Ballot and believe that you are entitled to vote on the Plan, you must file a
motion pursuant to Bankruptcy Rule 3018 with the Bankruptcy Court for the temporary allowance
of your Claim for voting purposes.

       Debtor reserves the right through the claim reconciliation process to object to or
seek to disallow any claim for distribution purposes under the Plan.

C.     Requirements of Confirmation

      The Bankruptcy Court can confirm the Plan only if all the requirements of § 1129 of the
Bankruptcy Code are met. Those requirements include the following:

       1.      The Plan classifies Claims and Interests in a permissible manner;

       2.      The contents of the Plan comply with the technical requirements of the
               Bankruptcy Code;

       3.      The Plan has been proposed in good faith and not by any means forbidden by law;

       4.      The disclosures concerning the Plan are adequate and include information
               concerning all payments made or promised in connection with the Plan; and

       5.      The principal purpose of the Plan is not the avoidance of tax or the avoidance
               of the securities laws of the United States.

        In addition to the confirmation requirements described above, the Plan must also be
approved by all Impaired Classes of Claims entitled to vote. If, however, the Plan has not been
approved by all Impaired Classes of Claims, the Court may nevertheless "cram down" the Plan
over the objections of a dissenting Impaired Class. The Plan may be "crammed down" so long as
it does not discriminate unfairly, is fair and equitable with respect to each dissenting Impaired
Class of Claims, and at least one Impaired Class has voted in favor of the Plan without regard to
any votes of insiders. To the extent necessary to obtain confirmation, Debtor will seek to “cram
down” the Plan.

       D.      Acceptance or Rejection of the Plan and Cram Down

        The Class containing your Claim will have accepted the Plan by the favorable vote of
majority in number and two-thirds in amount of Allowed Claims actually voting. In the event
that any Impaired Class of Claims does not accept the Plan, the Bankruptcy Court may still confirm
the Plan if an Impaired Class accepts it and if, as to each Impaired Class that has not accepted the
Plan, the Plan "does not discriminate unfairly" and is "fair and equitable." If you hold an
Allowed Secured Claim, the Plan is fair and equitable if you retain your lien and receive deferred
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                   Document      Page 6 of 24


cash payments totaling the allowed amount of your Secured Claim as of the Effective Date of the
Plan, the collateral is sold and your Lien attaches to the proceeds of the sale, or you are otherwise
provided with the "indubitable equivalent" of your Allowed Secured Claim. If you hold a Claim
that is not an Allowed Secured Claim, and is not entitled to priority under § 507 of the Bankruptcy
Code, the Plan is fair and equitable if you receive property of a value equal to the allowed amount
of your Claim or if no junior Class receives or retains anything under the Plan.

E.     Confirmation Hearing

        The Bankruptcy Court may enter an Order Approving Disclosure Statement and Notice of
Confirmation Hearing (the “Scheduling Order”) that schedules a hearing to consider confirmation
of the Plan ("Confirmation Hearing"). The Confirmation Hearing may be adjourned from time to
time without further notice except for announcement at the Confirmation Hearing to those parties
present at the Confirmation Hearing.

F.     Objections to Confirmation

        As will be set forth in the Scheduling Order, any objections to confirmation of the Plan
must be in writing, set forth the objector's standing to assert any such objection, and must be
filed with the Bankruptcy Court and served on counsel for the Debtor by the time indicated in the
Scheduling Order. The Scheduling Order will contain all relevant procedures relating to the
submission of objections to confirmation and should be reviewed in its entirety by any party who
has an objection to confirmation.

G.     Whom to Contact for More Information

       If you have any questions about the procedure for voting your Claim or the packet of
materials you received, please contact Howard P. Slomka at the address indicated below or by
telephone at (404) 800-4017. If you wish to obtain additional copies of the Plan, this Disclosure
Statement, or the exhibits to those documents, at your own expense, unless otherwise specifically
required by Bankruptcy Rule 3017(d), please contact Slipakoff & Slomka, PC, 2859 Paces Ferry
Road SE Suite 1700 Atlanta, GA 30339 Attn: Howard Slomka; or by facsimile at (404) 800-
4017, Attn: Howard P. Slomka, or by electronic mail to HS@myatllaw.com.

III.   Historical Background

       A.      Description of Debtor
       Debtor is a 57 year-old dentist in private practice for over 20 years in Metro Atlanta. In
2012, Debtor purchased an existing dental practice in Buford, Georgia. He then purchased a
second practice in Marietta, Georgia in 2013. The institutional loans for both purchases were
cross defaulted, and Debtor maintained a seller note on the Buford location. Debtor’s goal was
to gradually phase out of dentistry and into the management of these two practices.

        However, the volume of the Marietta practice began to decline almost immediately after
his acquisition. The replacement of the prior dentist with newer replacement dentists yielded the
loss of many long-time patients, and expenses quickly exceeded revenues for the Marietta
practice. The inability to pay the Maritte note created a default situation at both locations. When
the loans went into default, the lender called the loans on both practices, and siezed Debtor’s
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07              Desc Main
                                   Document      Page 7 of 24


cash reserves which also secured the loans. Debtor lost his home in the process and the loans
remained unsatisfied.

        After much negotiation, Debtor was able to sell both practices: Marietta in March 2016
and Buford in November 2016. While the primary lender agreed to short sale prices and took all
of the sales proceeds, the sales left Debtor in significant debt to his credit cards and to the seller
on the Buford practice.

        His debt load meant that Debtor went back to practice, this time as a 1099 contractor of
the practice. And he was forced to file bankruptcy due to his remaining debt load. Because his
debt exceeded the limits for a personal chapter 13 case, Debtor filed this case as a Chapter 11
reorganization.

               Debtor currently receives income of 35% of his collections, which averages
around $29,500 per month before tax escrows. Debtor plans to sell his residence during the
reorganization to reduce his monthly exenses, and apply any equity proceeds toward his plan of
reorganization. Additionally, Debtor has started working at another dental practice to secure
additional income for his reorganization.


       With this projected income Debtor is able to propose a feasible Chapter 11 plan of
reorganization, as described herein. An estimated budget demonstrating anticipated revenues
and expenses is shown on Exhibit A attached hereto.




B.     Prepetition Assets and Liabilities

       Debtor values his real property as shown in the tables below.



     REAL PROPERTY                   Estimated                    Approx.
      DESCRIPTION                      Value           Debt       Equity                NOTES
  Properties owned in
  Debtor’s name

                                                    1,055,000     0.00          Debtor plans to sell the
  Residence – 2000 Norland                                                      Residence during the plan
  Circle Court                                                                  period to reduce living
                                     1,046,000                                  expenses.




      Debtor’s assets as of the Filing Date consisted of the following Personal Property listed on
Schedule A/B of Debtor’s schedules of assets:
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                   Document      Page 8 of 24



  PROPERTY DESCRIPTION                                           VALUE

  Clothing                                                       $      500.00
  Household Goods                                                $    4,000.00
  Electronics                                                    $ 2,000.00
  Firearms                                                       $ 2,000.00
  Mercedes 2008 S550                                              $ 13, 325.00
  Acura 2009 TL                                                   $       0.00



  TOTAL                                                          $   21,805.00



        Debtor’s estimated liabilities total $1,334,406.50 which include (a) secured claims
totaling $863,632.27 and (b) unsecured priority claims of $167,631.57, and (c) unsecured claims
totaling $ 303,142.76

IV.    The Chapter 11 Case

       A.       Reasons for Filing Chapter 11

        Debtor filed bankruptcy as a result of the taxes and lawsuits that resulted from the failed
dental practice in Marietta, Ga. Debtor expects to pay off off all secured and priority debts in full
through the Chapter 11 Plan of Reorganzation, and to pay as much as possible to his unsecured
creditors.

       B.       Professionals

       On December 20, 2018, Debtor filed an application requesting authorization to retain the
law firm of Slipakoff & Slomka, PC (“Slomka”) to serve as bankruptcy counsel in this Case
(“Slomka Application” at Doc. No. 24). The Court issues it order approving the appointment on
January 23, 2019 (Doc. No. 29).

                No other professionals are anticipated.
       C.       Motions Pending

                None

       D.       Payments to Creditors within the Ninety (90) Days and One (1) Year Prior
                to the Filing Date

       Payments to creditors during the ninety (90) days prior to the Filing Date are set forth in
the schedules and statement of financial affairs. Additionally, with regard to insiders, payments
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07            Desc Main
                                  Document      Page 9 of 24


made to creditors within the one (1) year prior to the Filing Date are listed in the statement of
financial affairs.

       Under the Bankruptcy Code, Debtor may seek to avoid and recover certain transfers that
occur within the ninety (90) days prior to the Filing Date as preferential under Sections 547 and
550 of the Bankruptcy Code. Debtor reserves the right to pursue any and all actions it deems
appropriate and nothing herein shall be construed as a waiver of any claims or causes of action.

       As of the date of this Disclosure Statement, Debtor is not aware of any transfers which he
could avoid as preferential.

       E.      Bar Date: March 29, 2019

        On January 22, 2019, Debtor filed a Motion to Establish Bar Date for Filing Proofs of
Claim (the “Bar Motion”) (Doc. No. 28) under Bankruptcy Rule 3003(c)(3). The Court has
established March 29, 2019 as the bar date in its Order and Notice dated January 24, 2019 (Doc.
No. 31).


V.      Summary of the Plan

       The following summary of the Plan provides only a brief description of its
provisions. The summary is qualified in its entirety by the more detailed descriptions of
the Plan in the Disclosure Statement and by the terms of the Plan itself.

        The Plan provides for an equitable distribution to creditors of Debtor and preserves the
value of Debtor’s estate. Debtor believes that any alternative to confirmation of the Plan, such as
liquidation or attempts by other parties in interest to file a competing plan, would result in
significant delays, litigation, and/or impaired recoveries. Moreover, Debtor believes that the
creditors will receive greater and earlier recoveries under the Plan than those that would be
achieved in liquidation or under an alternative Chapter 11 plan. For these reasons, Debtor
urges you to return your Ballots accepting Debtor’s Plan.

        The Plan contemplates the reorganization of Debtor’s financial affairs and the resolution
of the outstanding Claims against Debtor pursuant to sections 1129(b) and 1123 of the Bankruptcy
Code. The Plan classifies all Claims against Debtor into separate Classes.

VI.    Description of the Plan

       A.      Retention of Property by Debtor

       Upon confirmation, Debtor will retain all property of the estate free and clear of liens,
claims, and encumbrances not expressly retained by Creditors. Debtor will have the rights and
powers to assert any and all Causes of Action (defined as all causes of action, choses in action,
claims, rights, suits, accounts or remedies belonging to or enforceable by Debtor, including
Avoidance Actions, whether or not matured or unmatured, liquidated or unliquidated, contingent
Case 18-68479-pmb       Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07            Desc Main
                                 Document     Page 10 of 24


or noncontingent, known or unknown, or whether in law or in equity, and whether or not
specifically identified in Debtor’s Schedules).

       B.      Parties Responsible for Implementation of the Plan

       Upon confirmation, Debtor will be charged with administration of the Case. Debtor will
be authorized and empowered to take such actions as are required to effectuate the Plan,
including the prosecution and enforcement of Causes of Action. Debtor will file all post-
confirmation reports required by the United States Trustee’s office. Debtor will also file the
necessary final reports and will apply for a final decree as soon as practicable after substantial
consummation and the completion of the claims analysis and objection process.

       C.      Liabilities of Debtor

       Debtor will not have any liabilities except those expressly assumed under the Plan.
Debtor will be responsible for all expenses incurred by Debtor in the ordinary course of business
and family/household finances after the Filing Date (“Ordinary Course Expenses”), and those
Ordinary Course Expenses will be paid in the ordinary course of business as they become due or
as agreed upon by the Holder of the Ordinary Course Expense claim.

       D.      Funding of the Plan

       Debtor will satisfy all claims from his employment income. Debtor receives an average of
$29,500 income per month from his work as an independent contractor dentist, including some
additional income from part time work.

       The Plan provides that Debtor shall act as the Disbursing Agent to make payments under
the Plan unless Debtor appoints some other person or entity to do so. Debtor may maintain bank
accounts under the confirmed Plan in the ordinary course of business. Debtor may also pay
ordinary and necessary expenses of administration of the Plan in due course.

       E.      Provisions Regarding Executory Contracts

        Any unexpired leases or executory contracts which are not assumed pursuant to this Plan
or are the subject of a pending motion to assume shall be deemed rejected pursuant to Section
365 of the Bankruptcy Code on the Effective Date. A proof of claim for damages arising from
such rejection must be filed in compliance with the Bankruptcy Rules on or before sixty (60)
days after entry of the Confirmation Order. Any claims which are not timely filed will be
disallowed and discharged.

       F.      Avoidance Actions and Retained Rights

       The Plan provides that Debtor shall retain all rights of action against others. The Plan
also provides that Debtor shall retain “Avoidance Actions” under Chapter 5 of the Bankruptcy
Code.
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07              Desc Main
                                   Document     Page 11 of 24


       Debtor may also have Claims against others which are retained. Notwithstanding the
foregoing, Debtor is reviewing records and believes that any recovery for preference claims would
be minimal because claims are subject to, among others, the ordinary course business defense.
Further, Debtor is not aware of any fraudulent conveyance claims.

       G.      Treatment of Claims and Interests

        A brief summary of the Classes, the treatment of each Class, and the voting rights of each
Class is set forth below. A complete description of the treatment of each Class is set forth in
the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of
claim. Debtor reserves the right to object to any and all claims.

       Debtor reserves the right to pay any Claim in full at any time in accordance with the
terms of the Plan (i.e. at the percentage distribution designated in the Plan with the accrued and
unpaid interest, if any under the Plan) without prepayment penalty.

6.1    Class 1: Priority Claims by the IRS and Georgia Department of Revenue.


       Class 1 consists of the priority claims of IRS and GDOR. At the time of filing this
Disclosure Statement, GADOR is due $35,358.61 based upon the figures in POC 1, and IRS is due
$132,092.96 based upon POC 2.

        Debtor’s Plan will require Debtor to pay the Class 1 Claims in full within 60 months of the
Effective Date, with interest at the currently applicable statutory rate in accordance with 11 USC
1129(a)(9), currently at 6.0%. Monthly payments will be $ 2,553.73 (to IRS) and $683.58 (to
GDOR) .

        In the event the Debtor defaults on payments as required under the Plan, the Internal
Revenue Service will send a default letter to the Debtor with a copy to the Debtor's attorney. The
default must be cured within then (10) days of the date of the letter. In the event the default is not
cured within (10) days the Internal Revenue Service will have the right to pursue enforcement
actions.

        Any administrative claim of the Internal Revenue Service will be due and payable thirty
days after confirmation or determination of any objection to the claim.

        The Debtor is required to timely file returns for and timely pay all post-petition, personal
business and employment taxes. Proof of federal tax deposits must be sent to the Internal Revenue
Service, Summit Building, West Peachtree Street, Stop 334D, Attn: Breia Sharber-Bali, Atlanta,
Georgia 30308-3539. Failure to timely file returns or timely pay taxes as they become due shall
constitute as a default of the Chapter 11 Plan.


6.2    Class 2: Secured Claim of Georgia Department of Revenue.
Case 18-68479-pmb         Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07               Desc Main
                                   Document     Page 12 of 24



       Class 2 consists of the Secured Claims of GDOR totaling $6,428.08. Debtor’s Plan will
require this amount to be paid in full, within 60 months after the Effective Date, with interest
accruing at 6.0%. Monthly payments will be $ 126.05.


6.3    Class 3: Pre-Petition Mortgage Arrearage: Secured Claim of Specialized Loan
Servicing. IMPAIRED

       Class 3 consists of the Secured Claim of Wells Fargo for pre-petition mortgage arrearage
under the residential mortgage. These payments equal $ 1,500.00 per month and will be paid
monthly by the Debtor until the Property is sold, refinanced within 12 months, or the stay is lifted.

       The Claim of the Class 3 Creditor is Impaired by the Plan and the holder of the Class 3
Claim is entitled to vote. Debtor reserves the right to object to any and all claims.

        * Debtor shall sell or refinance the residence within 12 months after the confirmation of
the Plan (the “Sale Date”). Class 3 Creditor Specialized Loan Servicing, LLC shall have the right
to foreclose on the property, and the automatic stay pursuant to 11 USC 362 shall be lifted without
further order of the Court, in the event that any of the following events occur:

                (i) Debtor defaults in his monthly payments under the mortgage and such default is
        not cured in full within 30 days; or
                (ii) Debtor defaults in his obligation to make the $1,500.00 monthly payments to
        Class 3 creditor under this section, and such default is not cured in full within 30 days; or
                (iii) Debtor hase not sold or refinanced the property and paid off the creditor in full
        or or before the Sale Date.

6.4     Class 4: General Unsecured Creditors. 5% Payout ($28,000.00)

        Class 4 Claims shall consist of all amounts due and owing by Debtor on unsecured debts
including contracts, notes or accounts. Debtor shall pay Holders of Allowed Unsecured Claims
their pro-rata share of Debtor’s disposable income for the 60 months following the Effective Date
of the Plan, in an aggregate amount of not less than $467.00 per month, or $1,400 per quarter.

       Debtor proposes to pay 5% to Class 4 in payments not less frequently than once per quarter.
Debtor will mail each creditor its pro rata share of the quarterly payment.

        A list of potential Class 4 Claimants and their estimated distribution are set forth below.

      POC #      Creditor                      Claim                           Annual Payout
        8 DAVIS                                  $ 101,706.56                   $ 406.83
            PORTFOLIO                                   500.00                   $    2.00
        5 AMEX                                       7,880.10                   $ 31.52
        4 AMEX                                   $ 27,419.24                    $ 109.68
        3 AMEX                                   $ 45,948.13                    $ 183.79
        6 AMEX                                       26,890.92                  $ 107.56
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07               Desc Main
                                  Document     Page 13 of 24


       10 ATT                                   $       797.88                $ 3.19
        9 BOFA                                  $    31,616.58                $ 126.47
        7 KING YAKLIN                               14,870.49                 $ 59.48
          Chase                                     210,025.00                $ 840.10
        1 GA Dept REV                                 9,995.62                $ 39.98
        2 IRS                                       36,017.34                 $ 144.07
          Capital One                                 525.00                       2.10
          FranklinCollection                            131.00                     0.52
          First Data                                   524.00                 2.10




        Nothing herein, including the list of estimated distributions, shall constitute an admission
as to the nature, validity, or amount of claim or waive any requirement for such holder to take
further action to assert such claim including any necessity to obtain a deficiency judgment
against Debtor or any third party under state law. Debtor reserves the right to object to any and
all claims.

       Distributions to unsecured creditors in Class 4 shall be paid directly by Debtor, on the first
day of any fiscal quarter, except for amounts less than $50.00, which maybe paid semi-annually
on January 1 and July 1 each year. As a convenience, any unsecured creditors (other than insiders)
who are due less than $100.00 under this Plan, may be paid 5% of their claim at anytime by Debtor,
who shall then owe them nothing further under this Plan.

VII.   Administrative Expenses

     Treatment of administrative expense claims is set forth in Article 5 of the Plan and
summarized below.

7.1     Summary.       Pursuant to Section 1123(a)(1) of the Bankruptcy Code, Administrative
Expense Claims against Debtor are not classified for purposes of voting on or receiving
distributions under this Plan. Holders of such Claims are not entitled to vote on this Plan. All
such claims are instead treated separately in accordance with the Plan and in accordance with the
requirements set forth in Section 1129(a)(9)(A) of the Bankruptcy Code.

         With respect to potential Administrative Expense Claims, Debtor, pursuant to Court
order, retained The Slomka Law Firm, P.C. (“Firm”) to serve as bankruptcy counsel. As set forth
in the employment application and supporting documents, The Firm received a prepetition retainer
in the amount of $15,000.00. Debtor shall pay the Firm any outstanding fees approved by the
Court on the Effective Date. Debtor has paid post-petition bills and does not expect any claims
for unpaid post-petition goods and services. Debtor will incur quarterly trustee fees which
Debtor intends to pay when due, and all fees due at or prior to the Effective Date will be paid in
full in accordance with 11 USC § 1129(a)(12)..

7.2 Administrative Expense Claims.
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                  Document     Page 14 of 24



7.2.1 Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy
Code, each holder of an Allowed Administrative Expense Claim will be paid the full unpaid
amount of such Allowed Administrative Expense Claim in Cash on the latest of (i) the Effective
Date, (ii) as soon as practicable after the date on which such Claim becomes an Allowed
Administrative Expense Claim, (iii) upon such other terms as may be agreed upon by such holder
and Debtor, or (iv) as otherwise ordered by the Bankruptcy Court; provided, however, that
Allowed Administrative Expense Claims representing obligations incurred by Debtor in the
ordinary course of business, or otherwise assumed by Debtor on the Effective Date pursuant to
this Plan, including any tax obligations arising after the Filing Date, will be paid or performed by
Debtor when due in accordance with the terms and conditions of the particular agreements or non-
bankruptcy law governing such obligations.

7.2.2 Except as otherwise provided in this Plan, any Person holding an Administrative Expense
Claim, other than an Administrative Expense Claim arising from the operation by Debtor of its
business in the ordinary course of business, shall file a proof of such Administrative Expense
Claim with the Bankruptcy Court within thirty (30) days after of the occurrence of the
Confirmation Date. At the same time any Person that files an Administrative Expense Claim, such
Person shall also serve a copy of the Administrative Expense Claim upon counsel for Debtor. Any
Person who fails to timely file and serve a proof of such Administrative Expense Claim shall be
forever barred from seeking payment of such Administrative Expense Claims by Debtor or the
Estate.

7.2.3 Any Person seeking an award by the Bankruptcy Court of Professional Compensation shall
file a final application with the Bankruptcy Court for allowance of Professional Compensation
for services rendered and reimbursement of expenses incurred through the Confirmation Date
within sixty (60) days after the Effective Date or by such other deadline as may be fixed by the
Bankruptcy Court.

        Debtor’s attorney fees during the remaining pendency of the case prior to confirmation
shall be paid as the same may be approved by the Bankruptcy Court. The Plan provides that
Debtor may pay professional fees incurred after confirmation of the Plan without Court approval.
Debtor shall pay all pre-confirmation fees of professionals as payment of the same is approved
by the Court. The Debtor estimates that professional administrative expenses will be
approximately $10,000.00 above the initial retainer.

VIII. Tax Consequences

        Tax consequences resulting from confirmation of the Plan can vary greatly among the
various Classes of Creditors and Holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, this
discussion is intended to be general in nature only. No specific tax consequences to any Creditor
are represented, implied, or warranted.
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                  Document     Page 15 of 24



       The proponent assumes no responsibility for the tax effect that consummation of the
Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interests
are strongly urged to consult their own tax advisors covering the federal, state, local and
foreign tax consequences of the Plan to their individual situation.

IX.    Debtor’s Operations After the Filing Date

       Debtor will continue to conduct its affairs as a debtor in possession in accordance with
Sections 1107 and 1108 of the Bankruptcy Code since the Petition Date.

X.     Liquidation Analysis –

        In the event Debtor’s estate is liquidated, the unsecured creditors would receive an
amount less than or equal to what is proposed in the Plan. Conversion and liquidation under
Chapter 7 of the Bankruptcy Code would result in the appointment of a Chapter 7 trustee and the
liquidation of non-exempt assets. Assets disposed of by “liquidation” or “fire” sale generally
generate significantly less proceeds than assets that are marketed and sold as a going concern,
especially stock in a closely held business.

        A Chapter 7 trustee would incur trustee’s fees equal to 25% of the first $5,000 of
Liquidation Value of Assets; 10% of amount in excess of $5,000 but not in excess of $50,000 of
Liquidation Value of Assets; 5% of any amount in excess of $50,000 but not in excess of
$1,000,000; 3% of any amount in excess of $1,000,000 of the Liquidation Value of Asset, and
commissions for auctioneers for personal property general is equivalent to ten (10%) percent of
the gross sales price and commissions for real property brokers is generally six percent (6%) of
the gross sales price. In addition, the attorney for the Chapter 7 trustee would incur attorney’s
fees as would the current Chapter 11 attorneys.

        Debtor has limited non-exempt equity in his personal property, which is reflected in his
filed Schedule B and C, other than less than $12,000 in personal jewelry, electronics and two
automobiles. By paying at least 5% to unsecured creditors, Debtor’s Plan will fund at least
$28,000 to unsecured creditors which exceeds the value of his non-exempt personal property.


XI.    Feasibility

        The Court must find that confirmation of the Plan is not likely to be followed by the
liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
Debtor, unless such liquidation or reorganization is proposed in the Plan.

       1.      Ability to Initially Fund Plan

        The Plan Proponent believes that Debtor will have enough cash on hand on the effective
date of the Plan to pay all the claims and expenses that are entitled to be paid on that date.

       2.      Ability to Make Future Plan Payments and Operate Without Further Reorganization
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                  Document     Page 16 of 24



       Debtor must also show that he will have enough cash over the life of the Plan to make the
required Plan payments.

       Debtor has provided projected financial information. Those projections are listed in Exhibit
A, and are consistent with his monthly operating reports filed in this case.

       Debtor’s payments due under the Plan will come from his debtal income.


XII.   Procedures for Treating and Resolving Disputed Claims

       A.      Objection To Claims

       The Plan provides that Debtor shall be entitled to object to Claims, provided, however, that
Debtor shall not be entitled to object to Claims (i) that have been Allowed by a Final Order entered
by the Bankruptcy Court prior to the Effective Date or (ii) that are Allowed by the express
terms of the Plan.

       B.      No Distributions Pending Allowance

       Except as otherwise provided in the Plan, no Distributions will be made with respect to
any portion of a Claim unless and until any objection to such Claim has been settled, withdrawn
or overruled pursuant to a Final Order of the Bankruptcy Court.

C.     Estimation of Claims

        Debtor may, at any time, request that the Bankruptcy Court estimate any contingent or
unliquidated Claim pursuant to the Bankruptcy Code regardless of whether Debtor has
previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
during litigation concerning any objection to any Claim, including during the pendency of any
appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent or unliquidated Claim, that estimated amount will constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on such Claim, Debtor may
elect to pursue any supplemental proceedings to object to any ultimate payment on such Claim.
All of the aforementioned Claims objection, estimation and resolution procedures are cumulative
and are not necessarily exclusive of one another.

D.     Resolution of Claims Objections

       On and after the Effective Date, Debtor shall have the authority to compromise, settle,
otherwise resolve, or withdraw any objections to Claims without approval of the Bankruptcy
Court.

XIII. Conditions Precedent to the Effective Date
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07             Desc Main
                                  Document     Page 17 of 24



       A.      Conditions to Confirmation

       The following are conditions precedent to confirmation of the Plan that may be satisfied
or waived in accordance with Article 11.3 of the Plan: (a) the Bankruptcy Court shall have
approved a Disclosure Statement with respect to the Plan; and (b) the Confirmation Order shall
have been signed by the Bankruptcy Court and entered on the docket of the Bankruptcy Court.

       B.      Conditions to Effective Date

      The following are conditions precedent to the occurrence of the Effective Date, each of
which may be satisfied or waived in accordance with the Plan.

       (a)     The Confirmation Order shall not have been vacated, reversed or modified and, as
               of the Effective Date, shall not be stayed.

       (b)     All documents and agreements to be executed on the Effective Date or otherwise
               necessary to implement the Plan shall be in form and substance that is acceptable
               to Debtor in its reasonable discretion.

       (c)     Debtor shall have received any authorization, consent, and/or regulatory
               approval.

        Under the Plan, each of the conditions set forth above may be waived, in whole or in part,
by Debtor without any notice to any other parties in interest or the Bankruptcy Court and without
a hearing. The failure to satisfy or waive any condition to the Confirmation Date or the Effective
Date may be asserted by Debtor in its sole discretion regardless of the circumstances giving rise
to the failure of such condition to be satisfied (including any action or inaction by Debtor in its
sole discretion). The failure of Debtor to exercise any of the foregoing rights shall not be
deemed a waiver of any other rights, and each such right shall be deemed an ongoing right,
which may be asserted at any time.

XIV. Certain Effects of Confirmation

       A.      Vesting of Debtor’s Assets

        Except as otherwise explicitly provided in the Plan, on the Effective Date, all property
comprising the Estate (including Retained Actions, but excluding property that has been
abandoned pursuant to an order of the Bankruptcy Court) shall revest in Debtor as of the Filing
Date, free and clear of all Claims, Liens, charges, encumbrances, rights and Interests of creditors,
except as specifically provided in the Plan. As of the Effective Date, Debtor may operate its
businesses and use, acquire, and dispose of property and settle and compromise Claims or Interests
without supervision of the Bankruptcy Court, free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules, other than those restrictions expressly imposed by the Plan and Confirmation
Order.

       B.      Discharge of Debtor
Case 18-68479-pmb        Doc 47     Filed 04/29/19 Entered 04/29/19 09:56:07              Desc Main
                                   Document     Page 18 of 24


        Pursuant to section 1141(d) of the Bankruptcy Code, except as otherwise specifically
provided in this Plan or in the Confirmation Order, the Distributions and rights that are provided
in this Plan shall be in complete satisfaction, discharge, and release of all Claims, whether known
on unknown, against, liabilities of, Liens on, obligations of, rights against, Debtor or his Estate
that arose prior to the Effective Date. However, pursuant to section 1141(d)(5) of the Bankruptcy
Code, except in limited circumstances, a discharge is not available to an individual debtor unless
and until all payments have been made under the plan. Therefore, Debtor does not have a right to
a discharge until all the plan payments have been made unless otherwise ordered by the Court
pursuant to section 1141(d)(5) of the Bankruptcy Code. Debtor is not waiving his right to seek
entry of a discharge order before completion of all plan payments. In the event Debtor seeks entry
of a discharge order after the entry of a final decree, Debtor may reopen the Case for purposes of
obtaining a discharge. Additionally, the Plan shall not be construed as attempting to discharge
any debt that is excepted from discharge pursuant to Bankruptcy Code sections 1141(d)(2) and
523(a)(1).

       C.      Setoffs

       Debtor may, but shall not be required to, set off against any Claim, and the payments or
other Distributions to be made pursuant to the Plan in respect of such Claim, claims of any nature
whatsoever that Debtor may have against such Holder of a Claim, but neither the failure to do so
nor the allowance of any Claim hereunder shall constitute a waiver or release by Debtor of any
such claim that Debtor may have against such Holder of a Claim.

       D.      Exculpation and Limitation of Liability

        Under the Plan, Debtor, and Debtor’s current and/or post-Filing Date and pre-Effective
Date advisors, attorneys, representatives, financial advisors, investment bankers, or agents and any
of such parties’ successors and assigns, shall not have or incur, and shall be released from, any
claim, obligation, cause of action, or liability to one another or to any Holder of any Claim or
Interest, or any other party-in-interest, or any of their respective agents, employees,
representatives, financial advisor, attorneys, or Affiliates, or any of their successors or assigns,
for any act or omission in connection with, relating to, or arising out of the Bankruptcy Cases,
the negotiation and filing of the Plan, the filing of the Bankruptcy Case, the pursuit of confirmation
of the Plan, the consummation of the Plan, or the administration of the Plan or the property to be
distributed under the Plan, except for their willful misconduct or gross negligence, and in all
respects shall be entitled to reasonably rely upon the advice of counsel with respect to their duties
and responsibilities under the Plan. No Holder of any Claim or Interest, or other party in
interest, none of their respective agents, employees, representatives, financial advisors, or
Affiliates, and no successors or assigns of the foregoing, shall have any right of action against the
parties listed in this provision for any act or omission in connection with, relating to, or
arising out of the Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of
the Plan, the administration of the Plan or the property to be distributed under the Plan.

       E.      Injunction

        Regardless of whether the Court has entered a final decree in the Bankruptcy Case, so
long as Debtor is in compliance with the Plan or the Court has entered an order granting Debtor a
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07            Desc Main
                                  Document     Page 19 of 24


discharge under section 1141(d)(5) of the Bankruptcy Code, the Plan provides for a permanent
injunction against any Person commencing or continuing any action, employment of process, or
act to collect, offset, or recover any Claim or Cause of provided for under the Plan, except as
provided for in the Plan, to the fullest extent authorized or provided by the Bankruptcy Code.

F.     Miscellaneous Plan Provisions

       1.      Modification of Plan

        Debtor shall be allowed to modify the Plan pursuant to section 1127 of the Bankruptcy
Code to the extent applicable law permits. Subject to the limitations contained in the Plan,
pursuant to Article 13.1 of the Plan, Debtor may modify the Plan, before or after confirmation,
without notice or hearing, or after such notice and hearing as the Bankruptcy Court deems
appropriate, if the Bankruptcy Court finds that the Modification does not materially and
adversely affect the rights of any parties in interest which have not had notice and an opportunity
to be heard with regard thereto. In the event of any modification on or before confirmation, any
votes to accept or reject the Plan shall be deemed to be votes to accept or reject the Plan as
modified, unless the Bankruptcy Court finds that the modification materially and adversely
affects the rights of parties in interest which have cast said votes. Debtor reserves the right in
accordance with section 1127 of the Bankruptcy Code to modify the Plan at any time before the
Confirmation Date.

       2.      Retention of Jurisdiction

        The Plan provides that subsequent to the Effective Date, the Bankruptcy Court shall have
or retain jurisdiction for the following purposes:

       (a)     to adjudicate objections concerning the allowance, priority or
               classification of Claims and any subordination thereof, and to establish a date or
               dates by which objections to Claims must be filed to the extent not established in
               the Plan;

       (b)     To liquidate the amount of any disputed, contingent or unliquidated Claim, to
               estimate the amount of any disputed, contingent or unliquidated claim, to establish
               the amount of any reserve required to be withheld from any distribution under the
               Plan on account of any disputed, contingent or unliquidated claim;

       (c)     To resolve all matters related to the rejection, assumption                  and/or
               assignment of any Executory Contract or Unexpired Lease of Debtor;

       (d)    To hear and rule upon all Retained Actions, Avoidance Actions and other Causes
              of Action commenced and/or pursued by Debtor;

       (e)     To hear and rule upon all applications for Professional Compensation;

       (f)     To remedy any defect or omission or reconcile any inconsistency in the Plan, as
               may be necessary to carry out the intent and purpose of the Plan;
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07           Desc Main
                                  Document     Page 20 of 24



       (g)     To construe or interpret any provisions in the Plan and to issue such orders as may
               be necessary for the implementation, execution and consummation of the Plan, to
               the extent authorized by the Bankruptcy Code;

       (h)     To adjudicate controversies arising out of the administration of the Estate or the
               implementation of the Plan;

       (i)     To make such determinations and enter such orders as may be necessary to
               effectuate all the terms and conditions of the Plan, including the Distribution of
               funds from the Estate and the payment of claims;

       (j)     To determine any suit or proceeding brought by Debtor to recover property
               under any provisions of the Bankruptcy Code;

       (k)     To hear and determine any tax disputes concerning Debtor and to determine
               and declare any tax effects under the Plan;

       (l)     To determine such other matters as may be provided for in the Plan or the
               Confirmation Order or as may be authorized by or under the provisions of the
               Bankruptcy Code;

       (m)    To determine any controversies, actions or disputes that may arise under the
              provisions of the Plan, or the rights, duties or obligations of any Person under the
              provisions of the Plan;

       (n)     To adjudicate any suit, action or proceeding seeking to enforce any provision
               of, or based on any matter arising out of, or in connection with, any agreement
               pursuant to which Debtor sold any of its assets during the Bankruptcy Cases; and

       (o)     To enter a final decree.

XV.    Confirmation and Consummation Procedure

       A.      General Information

        All creditors whose Claims are Impaired by the Plan may cast their votes for or against
the Plan. As a condition to confirmation of the Plan, the Bankruptcy Code requires that one
Class of Impaired Claims votes to accept the Plan. Section 1126(c) of the Bankruptcy Code
defines acceptance of a plan by a Class of Impaired Claims as acceptance by holders of at least
two-thirds of the dollar amount of the class and by more than one-half in number of Claims.
Holders of Claims who fail to vote are not counted as either accepting or rejecting a plan.
Voting is accomplished by completing, dating, signing and returning the ballot form (the
“Ballot”) by the Voting Deadline. Ballots will be distributed to all creditors entitled to vote on
the Plan and is part of the Solicitation Package accompanying the Disclosure Statement. The
Ballot indicates (i) where the Ballot is to be filed and (ii) the deadline by which creditors must
return their Ballots.
Case 18-68479-pmb        Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07            Desc Main
                                  Document     Page 21 of 24



       B.      Solicitation of Acceptances

       This Disclosure Statement has been approved by the Court as containing “adequate
information” to permit creditors to make an informed decision whether to accept or reject the
Plan. Under the Bankruptcy Code, your acceptance of the Plan may not be solicited unless you
receive a copy of this Disclosure Statement prior to, or concurrently with, such solicitation.

       C.      Acceptances Necessary to Confirm the Plan

        At the Confirmation Hearing, the Court shall determine, among other things, whether the
Plan has been accepted by the Debtor’s creditors. The Voting Classes will be deemed to accept
the Plan if at least two-thirds in amount and more than one-half in number of the Claims in each
class vote to accept the Plan. Furthermore, unless there is unanimous acceptance of the Plan by
the Voting Classes, the Court must also determine that any non-accepting Class members will
receive property with a value, as of the Effective Date of the Plan, that is not less than the
amount that such Class member would receive or retain if the Debtor were liquidated as of the
Effective Date of the Plan under Chapter 7 of the Bankruptcy Code.

       D.      Confirmation of Plan Pursuant to Section 1129(b)

        The Bankruptcy Code provides that the Plan may be confirmed even if it is not accepted
by all Impaired classes. To confirm the Plan without the requisite number of acceptances of each
Impaired Class, the Court must find that at least one Impaired Class has accepted the Plan
without regard to the acceptances of insiders, and the Plan does not discriminate unfairly against,
and is otherwise fair and equitable, to any Impaired Class that does not accept the Plan.
Accordingly, if any Impaired Class votes to accept the Plan, the Debtor will seek to confirm the
Plan under the “cramdown” provisions of section 1129(b) of the Bankruptcy Code.

       E.      Considerations Relevant to Acceptance of the Plan

        Debtor’s recommendation that all Creditors should vote to accept the Plan is premised
upon Debtor’s view that the Plan is preferable to other alternatives for liquidation of Debtor’s
estate. It appears unlikely to Debtor that an alternate plan or liquidation can be proposed that
would provide for payments in an amount equal or greater than the amounts proposed under the
Plan. If the Plan is not accepted, it is likely that the interests of all creditors will be further
diminished.

Respectfully submitted this 29th day of April, 2019

             /s/
James Edward Carter, IV
Debtor and Debtor in Possession

             /s/
Howard P. Slomka, Esq.
GA Bar 652875
Case 18-68479-pmb     Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07   Desc Main
                               Document     Page 22 of 24


Slipakoff and Slomka PC
2859 Paces Ferry Rd, SW, Suite 1700
Atlanta, GA 30339
Case 18-68479-pmb         Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07          Desc Main
                                   Document     Page 23 of 24


EXHIBIT A
DR JAMES CARTER IV – PLAN BUDGET


 INCOME                                                                  BUDGET
            Dentistry
                                                                          $ 29,500
                                                                         income
 EXPENSES



             Household
            Expenses/Food/Clothing/Cleaning/Pharmacy/Veternarian         $ 2,000
             Household Repairs & Maintenance                             $ 1,500
             Insurance (Auto, Life, Medical, Professional Liability)     $ 3,000
             IRA Contribution
             Lease/Rent Payments
             Medical/Dental Payments                                     $   500
             Mortgage Payment(s)                                         $ 6,576
             Other Secured Payments
             Property Association Dues                                   $     250
             Taxes - Escrow                                               $   3,500


             Taxes Other (attach schedule)
             Travel & Entertainment                                      $   500
             Tuition/Education                                           $ 2,000
             Utilities (Electric, Gas, Water, Cable, Sanitation, Cell,
            Internet)                                                    $ 1,500
             Vehicle Expenses (Fuel, Maintenance, Repair)                $ 1,500
             Vehicle Secured Payment (Note)                              $   608
             U. S. Trustee Quarterly Fees                                $   250
             Professional Fees (Legal, Accounting)                       $   250
             Other (attach schedule)
            Misc Expenses



             Cash/Savings
            Total Household Disbursements                                $ 20,434

            NET INCOME TO DEBTOR TO FUND PLAN PAYMENTS:                                   $ 5,566
Case 18-68479-pmb   Doc 47    Filed 04/29/19 Entered 04/29/19 09:56:07   Desc Main
                             Document     Page 24 of 24
